                      Case 24-40514-lkg            Doc 37       Filed 03/04/25         Page 1 of 11


                                         UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF ILLINOIS


 In re: Melissa E. Lewis                                                   Case No. 24-40514
        xxx-xx-0486                                                           Original Chapter 13 Plan
                                                                              Amended Plan Number 1
         xxx-xx-                                                           (Changes must be underlined)
                             Debtor(s)                                        Limited Service Applicable

                              CHAPTER 13 PLAN AND NOTICE OF TIME TO OBJECT

CHAPTER 13 PROCEDURES MANUAL The provisions of the Court’s Chapter 13 Procedures Manual are incorporated
herein by reference and made part of this Plan. This manual is available at www.ilsb.uscourts.gov.

YOUR RIGHTS WILL BE AFFECTED You should read these papers carefully and discuss them with your attorney.
Anyone opposing any provision of this Plan as set forth below must file a timely written objection. This Plan may be
confirmed without further notice or hearing unless written objection is filed and served within 21 days after the conclusion
of the 11 U.S.C. § 341(a) Meeting of Creditors. Objections to an amended Plan must be filed and served within 21 days after
the date of filing of the amended Plan.

THIS PLAN DOES NOT ALLOW CLAIMS A Creditor must file a timely Proof of Claim to receive distribution as set forth
in this Plan. Even if the Plan provides for payment, no payment will be made unless a Proof of Claim is timely filed.
If the debtor is not represented by counsel, any party filing a proof of claim must serve the debtor with notice that the claim
has been filed and with a copy of the claim. Any pleadings that are filed in relation to the claim also must be served on the
debtor.

IF A TIMELY CLAIM IS NOT FILED, AS PERMITTED BY FED. R. BANKR. P. 3002(c), 3004 OR FURTHER
ORDER OF THIS COURT, ALL AMOUNTS RECEIVED BY THE TRUSTEE FOR THE UNFILED CLAIM WILL
BE DISBURSED TO OTHER CREDITORS PURSUANT TO THE ORDER OF DISTRIBUTION.

If you have a secured claim, this Plan may void or modify your lien if you do not object to the Plan.

The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
not the plan includes any or all of the following items. If an item is checked as “Not Included” or if both boxes are
checked, the provision will be void if set out later in the plan.


 I.     A limit on the amount of a secured claim, set out in Sections 3E, 3F, or 4B,             Included         Not Included
        which may result in a partial payment or no payment at all to the secured creditor

 II.    Avoidance of a judicial lien or nonpossessory, non-purchase money security               Included         Not Included
        interest, set out in Section 9

 III.   Nonstandard provisions set out in Section 24.                                            Included         Not Included


1.     PAYMENTS
The Debtor submits to the Standing Chapter 13 Trustee all projected disposable income to be received within the applicable
commitment period of the Plan. These payments represent the Debtor(s)” anticipated projected disposable income. The
payment schedule is as follows:

                   Start Month #                     End Month #                     Monthly Payment
                         1                                60                             $3,500.00



                                                                                                                    Page 1 of 11
                        Case 24-40514-lkg            Doc 37       Filed 03/04/25         Page 2 of 11




Wage Order Required:            Yes       No        ePay       TFS (Must list employer information)
The Debtor from whose check the payment is deducted: Debtor
Employer’s name, address, city, state, phone:
Deaconess Regional Healthcare Services 600 Mary St Evansville IN 47747



                               IMPORTANT PAYMENT INFORMATION

     NOTE: The regular periodic plan payments to the Trustee must commence within 30 days
     of the filing of the petition. The Debtor(s) must make direct payments to the Trustee by
     money order or cashier’s check until the employer deduction begins. Include your name
     and case number on your money order or cashier’s check. Contact the Trustee for the
     payment mailing address.

     In addition, the Debtor(s) may have to pay into their Plan additional non-regular payments
     as a result of tax refunds (See, Paragraph 19) or if they receive any other non-regular
     income, such as lawsuit proceeds, etc. (See, Paragraph 20).



ORDER OF DISTRIBUTION
The following order of priority shall be utilized with respect to all payments received under the Plan terms:
     1. The Trustee's fees for each receipt, the percentage of which is fixed by the U.S. Trustee;
     2. Any unpaid portion of the filing fee;
     3. Notice fees equal to $.50 per page of the Plan, multiplied by the number of creditors listed on the debtor’s
          mailing matrix;
     4. Ongoing mortgage payments on real estate;
     5. Allowed administrative expenses;
     6. Attorney’s fees and other secured creditors as set forth in the Chapter 13 Procedures Manual;
     7. Priority creditors as set forth in the Plan;
     8. Any special class of unsecured creditors as set forth in the Plan; and
     9. General unsecured creditors.
2.     ADMINISTRATIVE EXPENSES

                                 Administrative Creditor                                       Estimated Amount of Claim




ATTORNEY’S FEES
       Attorney name: J. D. GRAHAM, PC
          Flat fee through Plan $4,500.00 OR
           The Debtor’s counsel elects to be paid on an hourly basis and will file a fee application(s) for approval of fees. No
       fees shall be disbursed until a fee application is approved by the Court. However, the Trustee shall reserve a total of
       $4,500.00 for payment toward such application, pursuant to the Order of Distribution and the Chapter 13 Procedures
       Manual.
       The attorney for the debtor(s) shall be paid attorney’s fees as specified in the plan and according to the Court’s Chapter
                                                                                                                      Page 2 of 11
                      Case 24-40514-lkg             Doc 37       Filed 03/04/25          Page 3 of 11


     13 Procedures Manual. Confirmation of this plan does not remove the attorney for the debtor as attorney of record in
     this case. The attorney for the debtor shall remain counsel of record until the earlier of either closing of the case or the
     entry of an order allowing the attorney for the debtor to withdraw.
3.   REAL ESTATE – CURING DEFAULTS AND MAINTAINING PAYMENTS
     Post-petition payments shall be made by the Trustee if (i) a pre-petition default exists; (ii) a post-petition, pre-
     confirmation default occurs; or (iii) a post-confirmation default arises that cannot be cured by the Debtor within six
     months. Otherwise, post-petition payments may be made directly by the Debtor to the creditor. Where the Trustee is
     disbursing the ongoing payments, the first mortgage payment to be disbursed will be that which becomes due in the
     second month after the month in which the petition is filed. In this situation, a mortgage holder should file a “pre-
     petition” claim that includes both the pre-petition arrearage and all post-petition contractual payments not disbursed by
     the Trustee as set forth above. Similarly, a Debtor must include the amount of any such payment(s) in the pre-petition
     arrearage calculation. (See the Chapter 13 Procedures Manual for examples and further instruction.)

     For ongoing payments brought in due to a post-petition default, payments by the Trustee are to begin on the first due
     date after the month in which the amended or modified Plan is filed, or as otherwise ordered by the Court. All payments
     received from the Trustee must be credited by the creditor as the Plan directs. Pursuant to 11 U.S.C. § 524(i), ongoing
     post-petition mortgage payments tendered under the Plan by either the Trustee or the Debtor shall be credited by the
     holder and/or servicer of said claim only to such payments and may not be used for any other purpose without prior
     approval of the Court. Pursuant to 11 U.S.C. § 524(i), payments for pre-petition mortgage arrearages tendered under the
     Plan by the Trustee shall be credited by the holder and/or servicer of said claim only to such arrearages and may not be
     used for any other purpose without prior Court approval

     The Chapter 13 Procedures Manual sets forth the terms concerning notice of payment changes; notice of fees, expenses
     and charges; form and content of said notice; determination of fees, expenses or charges; notice of final cure payment;
     response to notice of final cure payment; determination of final cure and payment; and the consequences of the failure
     to notify. If a conflict arises between the terms set forth in the Chapter 13 Procedures Manual and any bankruptcy rule,
     the federal and local bankruptcy rule(s) shall supercede the Manual.
A) Payment of ongoing post-petition mortgage payments by the              Debtor(s) or       Co-Obligor (check one) is as
follows:
                        Lien                                             Estimated Monthly        Payment           Payment
       Creditor                           Property Address
                        No.                                                   Payment             Start Date        End Date




B) Payment of ongoing post-petition mortgage payments by the Trustee is as follows:

                                                                          Estimated
                            Lien
        Creditor                            Property Address               Monthly           Payment              Payment
                            No.
                                                                           Payment           Start Date           End Date
     Shellpoint Mtg            1      360 Kratzinger Hollow Rd            $1,180.36            2/1/25          Duration of Plan
        Services                          Cobden IL 62920




The estimated monthly payment amount referenced in Part 3A and 3B above may change based upon Proof(s) of Claim
filed and/or subsequent Notice of Mortgage Payment Change.

C) Payment of pre-petition arrearages, first post-petition (“limbo”) payment; and/or post-petition arrearages, arising
from a default in mortgage payments that were being made directly by the Debtor to the creditor, are as follows:


                                                                                                                      Page 3 of 11
                       Case 24-40514-lkg            Doc 37       Filed 03/04/25         Page 4 of 11


                                                                                                              Type of Payment
                                    Lien
            Creditor                                    Property Address                Estimated Claim       (i.e. Limbo, Pre
                                    No.
                                                                                                              or Post-petition)
   Shellpoint Mtg Services           1            360 Kratzinger Hollow Rd                  $1,180.93               Limbo
                                                      Cobden IL 62920
   Shellpoint Mtg Services           1            360 Kratzinger Hollow Rd                  $73,086.24          Pre-Petition
                                                      Cobden IL 62920




 D) Real Estate Secured Claims which will be paid in full:
                Creditor                   Lien                Property Address                   Estimated         Interest
                                           No.                                                     Claim             Rate




 THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
 TITLED “INCLUDED” IN SECTION I ABOVE.


E) Residential Real Estate Secured Claims to which 11 U.S.C §506 Valuation is Applicable (Lien Stripping):
The Debtor will file a separate adversary proceeding to avoid the following wholly unsecured mortgages. Claims listed in
this subsection are debts secured by real estate on the Debtor’s primary residence. These claims are being modified pursuant
to 11 U.S.C. §1322(b)(2). The real estate mortgage in questions is not protected by the anti-modification provision of Section
1322(b)(2) either because the value of the real estate minus any priority liens indicates no value to support a secured claim
under 11 U.S.C. §506(a) or that the loan has matured pursuant to 11 U.S.C. §1322(c). (The appropriate section is indicated
below.) That pursuant to 11 U.S.C. §1325(a)(5)(B) the creditor will continue to retain the lien on the residential real estate
until the Debtors receive a discharge pursuant to Section 1328 of the Bankruptcy Code. Upon the entry of the order of
discharge the lien is voided. These claims will be paid either the value of the secured property as stated below or the secured
amount of that claim as listed on the Proof of Claim, whichever is less, with interest as provided below. Any portion of a
claim that exceeds the value of the secured property will be treated as an unsecured claim without the necessity of an objection.



    Creditor           Property       Value of Real        Estimated        Interest Rate       Estimated        Code Section
                       Address         Estate After         Claim                               Monthly          Relief Upon
                                      Priority Liens                                            Payment
                                                                                                                 [1322(b)(2) or
                                      are Deducted
                                                                                                                    1322(c)]




THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX TITLED
“INCLUDED” IN SECTION I ABOVE.

F) Real Estate Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable (“Cram Down Claims”):
                                                                                                                       Page 4 of 11
                      Case 24-40514-lkg             Doc 37      Filed 03/04/25         Page 5 of 11



Claims listed in this subsection are debts secured by real estate that is not the Debtor’s primary residence. These claims will
be paid either the value of the secured property as stated below or the secured amount of that claim as listed on the Proof of
Claim, whichever is less, with interest as provided below. Any portion of a claim that exceeds the value of the secured
property will be treated as an unsecured claim without the necessity of an objection.
                                                         Value (after                                             Estimated
                                                                              Estimated           Interest
         Creditor           Property Address             deducting all                                            Monthly
                                                                               Claim               Rate
                                                         senior liens)                                            Payment




G) Real Estate Property Tax Claims shall be paid as follows: To the extent that taxes become due during the Plan, they
   will be paid directly by the Debtor or pursuant to any applicable note and mortgage on the property. Real estate taxes that
   were due when the bankruptcy was filed will not be cured or paid by the Trustee under this Plan. Rather, the Debtor(s)
   need to make separate arrangements to pay these unpaid taxes directly to the party to whom they are owed.
4. SECURED CLAIMS AND VALUATION OF COLLATERAL UNDER 11 U.S.C. SECTION 506
A) Secured Claims to which 11 U.S.C. § 506 Valuation is NOT Applicable (“910 Claims”):
Claims listed in this subsection are debts secured by a purchase-money security interest in a personal motor vehicle acquired
for the personal use of the debtor, incurred within the 910 days preceding the date of the filing of the bankruptcy or debts
secured by a purchase-money security interest in "any other thing of value” incurred within one year preceding the date of
the filing of the bankruptcy. These claims will be paid in full with interest as provided below.
                                                                                                             Estimated Monthly
       Creditor                       Collateral                 Estimated Claim      Interest Rate
                                                                                                                  Payment
   First National              2014 Honda Odyssey                   $3,760.84              9.75                    $84.00
    Bank of Ava




THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
TITLED “INCLUDED” IN SECTION I ABOVE.
B) Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable (“Cram Down Claims”):
Claims listed in this subsection are debts secured by personal property not described in the immediately preceding paragraph
of this Plan. These claims will be paid either the value of the secured property as stated below or the secured amount of that
claim as listed on the Proof of Claim, whichever is less, with interest as provided below. Any portion of a claim that exceeds
the value of the secured property will be treated as an unsecured claim without the necessity of an objection.
For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a
proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below.
                                                                                                             Estimated Monthly
       Creditor             Collateral              Value        Estimated Claim      Interest Rate
                                                                                                                  Payment
   First National          1999 Ford               $1,367.00        $18,905.92             9.75                    $50.00
    Bank of Ava          Econoline E350
                             Cargo




C) Surrender of Property:

                                                                                                                      Page 5 of 11
                       Case 24-40514-lkg                Doc 37    Filed 03/04/25         Page 6 of 11


This section allows for the surrender of collateral. The Debtor surrenders any and all right, title and interest in the following
collateral. If the creditor believes that it may be entitled to a deficiency claim under applicable law, then the secured creditor
must file its secured claim before the non-governmental claims bar date. Within 90 days following the claims bar date,
the secured creditor shall file an amended Proof of Claim indicating the unsecured deficiency balance (if any), unless
an extension is approved by the Court. Any objection to a timely filed deficiency claim shall be filed within 45 days of
the date the deficiency claim was filed, or the same is deemed allowed. Absent leave of Court, deficiency claims filed outside
of this 90-day period (or any extension granted by the Court) are deemed disallowed without action by any party. Upon entry
of the Order lifting the automatic stay, the Debtor must reasonably cooperate with the creditor in either making the collateral
available for pickup or in supplying information of the collateral’s last known location.
   The debtor(s) elect to surrender to each creditor listed below the collateral that secured the creditor’s claim. The debtor(s)
request that upon confirmation of this plan the stay under 11 U.S.C. §362(a) be terminated as to the collateral only
and that the stay under §1301 be terminated in all respects.
                                                                                              Estimated Monies Previously
                   Creditor                             Collateral Surrendered
                                                                                                   Paid by the Trustee




5.   SEPARATELY CLASSIFIED CLAIMS
                                           Collateral           Secured/         Estimated        Interest
            Creditor                                                                                               Paid By
                                                               Unsecured           Claim           Rate
 First National Bank of Ava         1994 Clayton MH             Secured          $2,337.48         14.98           Trustee

6.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES
All executory contracts and unexpired leases are rejected, except the following which are assumed:
     A) Payment of executory contracts and unexpired leases directly by the Debtor is as follows:
                                                                                                                      # of
                   Creditor                                  Collateral                      Monthly Payment        Payments
                                                                                                                    Remaining




     B) Payment of arrearages by the Trustee is as follows:
                                                                                                                     Estimated
        Creditor              Collateral                      Address                  Est. Claim      Int. Rate     Monthly
                                                                                                                     Payment




Since the claims in Part 3E, 3F, 4A, 4B and 6B are based on the allowed claim amount, the estimated monthly payment
in those sections is provided by the Debtor for reference only.


7.   PRIORITY CLAIMS

                                                                                                                       Page 6 of 11
                        Case 24-40514-lkg           Doc 37       Filed 03/04/25         Page 7 of 11


     A) Domestic Support Obligations:
     The Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim and not
     through the Chapter 13 Plan.

     1. Name of Debtor owing a domestic support obligation:
                                                                                                                   Is DSO
                                                                                                                  Ongoing
            DSO Claimant Name                    Address, City, State and ZIP        Estimated Arrearages
                                                                                                                 Obligation?
                                                                                                                  [Y or N]




     B) Domestic Support Obligations Assigned to or Owed to a Governmental Unit Under 11 U.S.C. § 507(a)(1)(B):
                                                                                                                State Agency
             Government Entity                      Estimated Arrearages            Estimated Amount Paid
                                                                                                                Case Number




C)        Secured Income Tax Claims and Priority Claims Under 11 U.S.C. § 507:
     All allowed secured tax obligations shall be paid in full by the Trustee as set forth herein. All allowed priority claims
     shall be paid in full by the Trustee as set forth herein, unless the creditor agrees otherwise:



                                                   Priority OR Secured                 Estimated Claim           Interest Rate
                    Creditor
                                                (Must list the classification)             Amount                (If Secured)




8.    LONG-TERM DEBTS PAID DIRECTLY BY THE DEBTOR OR CO-DEBTOR TO THE CREDITOR
                                                                                                                    Number of
                                                                            Estimated Claim        Monthly
         Creditor               Collateral        Is there a Co-Debtor?                                             Payments
                                                                                Amount             Payment
                                                         [Y or N]                                                   Remaining




THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
TITLED “INCLUDED” IN SECTION II ABOVE.


9. AVOIDANCE OF LIENS
The Debtor will file a separate motion to avoid the following non-purchase money security interests, judicial liens, or other
liens that impair exemptions. Until such time as a motion is filed, the Trustee shall make no disbursements thereon. Upon
entry of an order avoiding the lien, the Trustee shall treat said claims as unsecured and pay them pursuant to paragraph 10.

                    Creditor                                Collateral/Property                      Amount of Lien to be
                                                                                                                     Page 7 of 11
                       Case 24-40514-lkg             Doc 37        Filed 03/04/25         Page 8 of 11


                                                                                                              Avoided




10. UNSECURED CLAIMS
The minimum amount the Debtor must pay to all classes of allowed non-priority unsecured claims is $26,695.20 +
$1,000.00 (Preference)
or    100%.

11. POST PETITION CLAIMS
Post-petition claims shall not be paid by the Trustee unless the Debtor amends the Plan to specifically address such claims.
Absent such an amendment, the Trustee shall not disburse any monies on said claims and these debts will not be discharged.

12. LIEN RETENTION
With respect to each allowed secured claim to be paid in full through the Plan, other than mortgage or long-term debts, the
holder of such claim shall retain the lien securing its claim until the earlier of (i) the payment of the underlying debt determined
under non-bankruptcy law; or (ii) entry of the discharge order under 11 U.S.C. § 1328.

13. PROOF OF LIEN PERFECTION
Any individual and/or entity filing a secured claim must provide the Chapter 13 Trustee, the Debtor, and Debtor’s counsel
with proof of lien perfection at the time its claim is filed and shall attach such documentation to its Proof of Claim pursuant
to Bankruptcy Rule 3001.

14. VESTING OF PROPERTY OF THE ESTATE
Only property of the estate listed on an original or amended Schedule A/B as of the date of confirmation shall revest in the
Debtor upon confirmation of the Debtor’s Plan. All undisclosed, pre-petition property shall vest in the Trustee and become
property of the estate. Property acquired by the Debtor post-petition shall vest in the Trustee and become property of the
estate as contemplated by 11 U.S.C. Section 1306, subject to the dollar limitations and procedures set forth in Paragraph 20,
Assets Acquired Post-Petition, below. (This includes, for example, property previously disclosed, such as a personal injury
claim, worker’s compensation claim, inheritance or class action, but liquidated and/or acquired post-petition.) Furthermore,
the Debtor shall promptly notify the Trustee of the acquisition of any right and/or interest in such property.
15. PAYMENT NOTICES
Creditors in Section 3 of this Plan (whose rights are not being modified) and in Section 6 of this Plan (Assumed Executory
Contracts/Unexpired Leases) may continue to mail customary notices or coupons to the Debtor or Trustee notwithstanding
the automatic stay.

16. OBJECTIONS TO CLAIMS
Absent leave of Court, any objection to a timely filed general unsecured claim shall be filed within 45 days following the
expiration of the claims bar date for that claim. Objections to secured and/or amended claims shall be filed within 45 days
from the applicable claims bar date or within forty-five 45 days from the date of filing of the claim, whichever is later.

17. STAY RELIEF
Notwithstanding any provision contained herein to the contrary, distribution to a secured creditor(s) who obtains relief from
the automatic stay will terminate immediately upon entry of an Order lifting or terminating the stay, except to the extent that
an unsecured deficiency claim is subsequently filed and allowed. Absent an Order of the Court, relief from the automatic
stay shall also result in the Trustee ceasing distribution to all junior lien holders.

18. DEBTOR REFUNDS
Upon written request of the Debtor or Debtor(s)’ counsel, the Trustee is authorized to refund to the Debtor, without Court
approval, any erroneous overpayment of regular monthly payments received during the term of the Plan that have not been
previously disbursed.


                                                                                                                         Page 8 of 11
                      Case 24-40514-lkg             Doc 37        Filed 03/04/25         Page 9 of 11



19. DEBTOR(S)’ DUTIES WITH REGARD TO POST-PETITION TAX RETURNS AND TAX REFUNDS
By April 30th of each year, the Debtor(s) shall provide the Trustee with a true and complete signed copy of their state and
federal income tax return(s) for the preceding year. If an extension is filed, or the Debtor(s) are not required to file a return,
by April 30th of each year, the Debtor(s) shall provide the Trustee with an executed copy of the \extension, or Affidavit stating
they are not required to file said return(s). The Trustee shall compute the amount, if any, of the Debtor(s)' refund that must
be turned over and send the Debtor(s) a letter notifying them of this amount. This amount is calculated as follows: any amount
(excluding that received before the commencement of the case) that exceeds (i) monies credited for Earned
Income Credit and/or Child Tax Credit; (ii) $750.00 per Debtor; and (iii) after deductions made for monies owed and/or
incurred for reasonable tax preparation fees, provided they are disclosed to the Trustee at the time of the submission of the
tax returns..

These additional proceeds shall increase the minimum required distribution to the Debtor(s)' allowed general unsecured
creditors as set forth in Paragraph 10 and the Trustee is authorized to increase the base amount of the Debtor(s)' Plan
accordingly. The distribution of these proceeds shall be made in accordance with Paragraph 1, Order of Distribution. Said
funds must be tendered to the Trustee within 30 days of the date of said letter. Failure of the Debtor(s) to comply with any of
the time parameters set forth herein will result in the dismissal of the case without further notice or hearing upon the Trustee's
certification of said default. Notwithstanding the foregoing, nothing contained herein shall prohibit the Debtor(s) from timely
filing a Motion with the Court, seeking authorization to retain all or any portion of such future tax refunds upon a showing
of substantial need.

20. ASSETS ACQUIRED POST-PETITION
Should the debtor(s) acquire or receive any interest in property, outside of their previously disclosed normal financial affairs,
with a fair market value exceeding $2,000.00, AND/OR any interest in property with an undetermined, unliquidated, or
unknown value, they shall immediately file the appropriate amended schedule(s) to disclose the acquisition or receipt of the
same. Examples of such property include, but are not limited to, any financial recovery to which debtor(s) is or becomes
entitled to receive during the pendency of the Chapter 13 plan, claims for personal injury, worker’s compensation
employment/back-pay, worker’s compensation claims, inheritance, life insurance proceeds, bonuses, or gifts. Upon the filing
of said amended schedules, the Chapter 13 Trustee or other party in interest shall have sixty (60) days to file a motion for
turnover of the value of the property at issue. Debtor(s), in turn, may file an objection to such motion within twenty-one (21)
days seeking leave to retain the value of such property. In the absence of such motion, or if the motion is denied, the value
of the property will be deemed to have been abandoned by the bankruptcy estate. The value of any interest in property
acquired by Debtor(s) that is subject to this Paragraph, whether or not disclosed on amended schedule(s), shall constitute a
payment under the plan due upon Debtor(s)’ interest accruing unless or until the interest is abandoned by the Trustee pursuant
to the procedures established by this Paragraph. The value of any property ordered to be turned over to the Trustee shall be
paid into the debtor(s)’ plan as a payment under the plan, inclusive of trustee fees. The Trustee is hereby authorized to
increase the plan base and minimum required distribution to the Debtor(s)' allowed general unsecured creditors as set forth
in Paragraph 10 consistent with the provisions of this Paragraph. The Trustee shall thereafter disburse the value of property
received under this Paragraph in accordance with the provisions of Paragraph 1, Order of Distribution.

21. MISCELLANEOUS TRUSTEE DISBURSEMENT PROCEDURES
No payment in an amount less than $15.00 shall be distributed by the Trustee to any creditor. Funds not distributed because
of Bankruptcy Rule 3010(b) shall be paid whenever the accumulation aggregates $15.00. Any funds remaining shall be
distributed with the final payment.

After satisfaction of all allowed secured and priority claims being paid by the Trustee, the Trustee is directed to distribute the
remaining proceeds of the debtor’s plan base to those creditors whose claims have been allowed, but not to exceed 100 percent
of the amount of any claim.

22. PLAN NOT ALTERED FROM LOCAL FORM
By signing this Plan below, the Debtor and the Debtor’s counsel certify that the Plan is the local form authorized by the Court
and contains no non-standard provisions other than those in Paragraph 24.

23. REASON(S) FOR AMENDMENT(S)
Set forth a brief, concise statement of the reason(s) for the amendment(s). In addition, if there is a substantial change to the
proposed Plan payments, or if the Trustee so requests, file an amended Schedule I & J.

                                                                                                                       Page 9 of 11
                     Case 24-40514-lkg            Doc 37       Filed 03/04/25        Page 10 of 11


This plan is being amended to modify the funding paragraph, to update amounts owed pursuant to claims filed, to address
the claims of First National Bank of Ava, and to modify the pool to unsecured creditors.



THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX TITLED
“INCLUDED” IN SECTION III ABOVE.
24. NONSTANDARD PLAN PROVISIONS

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision
not otherwise included in the Local Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are
void.




Signatures

/s/J. D. Graham                                                         Dated: March 4, 2025
Signature of Attorney for Debtor(s)

Signature(s) of Debtor(s) (required if not represented by and an attorney, otherwise optional)




                                                                                                               Page 10 of 11
                 Case 24-40514-lkg     Doc 37     Filed 03/04/25    Page 11 of 11


                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

In re:                                     )
Melissa E. Lewis,                          )      Case No. 24-40514
                                           )      Chapter 13
                                           )
                      Debtor(s).           )

                                   CERTIFICATE OF SERVICE

      Comes now Debtor(s), Melissa E. Lewis, by and through his/her attorney, and certifies that on
March 4, 2025 , via first-class mail, postage prepaid, a true and accurate copy of the Amended Plan
Number 1 was served upon the following persons that were not served electronically.

                                    RESPECTFULLY SUBMITTED,

                                    By: /s/ Kathleen Lyles, Paralegal
                                            J.D. GRAHAM, P.C.
                                            Attorney for Debtor
                                            #1 Eagle Center; Suite 3A
                                            O’Fallon, IL 62269
                                            618.235.9800
                                            618.235.9805 fax
                                            jd@jdgrahamlaw.com



All creditors on mailing matrix




                                                                                          Page 11 of 11
